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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT

SOUTHERN DISTRICT OF NEW YORK ELEC TRONICALLY FILED
MARTIN GONZALEZ SANCHEZ, LEDIZ DOC #: ____ —
MARIN, HECTOR GONZALEZ SANCHEZ, DATE FILED: _ 1/28/2021

LEONCIO NOE, and DAMASO CESAR
GONZALEZ ROMANO (A.K.A CESAR
GONZALEZ), individually and on behalf of others
similarly situated,

 

Plaintiffs,
-against- 21 Civ. 675 (AT)
Y AND P ENTERPRISES INC (D/B/A CORNER ORDER

CAFE & BAKERY), PAUL DIMINO, YURA
MORHR, LUCAS SANTOS, and SUSIE RHIM,

 

Defendants.
ANALISA TORRES, District Judge:

 

To protect the public health, while promoting the “just, speedy, and inexpensive determination
of every action and proceeding,” Fed. R. Civ. P. 1, itis ORDERED pursuant to Rules 30(b)(3) and
30(b)(4) of the Federal Rules of Civil Procedure that all depositions in this action may be taken via
telephone, videoconference, or other remote means. It is further ORDERED pursuant to Rule
30(b)(5) that a deposition will be deemed to have taken place “before an officer appointed or
designated under Rule 28” if such officer attends the deposition using the same remote means used to
connect all other participants, so long as all participants (including the officer) can clearly hear and be
heard by all other participants. The parties are encouraged to engage in discovery through remote
means at every available opportunity.

SO ORDERED.

Dated: January 28, 2021
New York, New York

On-

ANALISA TORRES
United States District Judge

 
